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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

TAMAKA WOOD,

       Plaintiff,                         Case No. 2:16-cv-13276

v.                                        HONORABLE STEPHEN J. MURPHY, III

EQUITYEXPERTS.ORG, LLC,

      Defendant.
______________________________/

           ORDER DISMISSING THE CASE WITHOUT
    PREJUDICE, DENYING AS MOOT PLAINTIFF'S MOTION TO
AMEND THE COMPLAINT [43], AND REQUIRING CLOSING DOCUMENTS

      On August 4, 2020, Plaintiff filed a notice that the parties have agreed to

settle the case. ECF 49, PgID 417. Plaintiff indicated that the parties would submit

a proposed, stipulated order dismissing the case with prejudice by September 30,

2020. Id. The Court will therefore dismiss the case without prejudice and require

the parties to file their closing documents no later than September 30, 2020.

Because the parties have agreed to settle the case, the Court will also deny as moot

Plaintiff's motion to amend the complaint. ECF 43.

      WHEREFORE, it is hereby ORDERED that the case is DISMISSED

WITHOUT PREJUDICE

      IT IS FURTHER ORDERED that Plaintiff's motion to amend the complaint

[43] is DENIED AS MOOT.
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        IT IS FURTHER ORDERED that the parties shall SUBMIT a proposed,

stipulated order dismissing the case with prejudice no later than September 30,

2020.

        SO ORDERED.

                                     s/Stephen J. Murphy, III
                                     STEPHEN J. MURPHY, III
                                     United States District Judge
Dated: August 6, 2020

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on August 6, 2020, by electronic and/or ordinary mail.

                                     s/David P. Parker
                                     Case Manager




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